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                             UNITED STATES JUDICIAL PANEL
                                          on
                              MULTIDISTRICT LITIGATION


IN RE: SOCIAL MEDIA ADOLESCENT
ADDICTION/PERSONAL INJURY
PRODUCTS LIABILITY LITIGATION                                                          MDL No. 3047


                                       TRANSFER ORDER


         Before the Panel: * Plaintiff in one action (Murden) moves under 28 U.S.C. § 1407 to
centralize this litigation in the Northern District of Illinois or the Western District of Missouri, and
also supports centralization in the Eastern District of Pennsylvania, the Southern District of Ohio,
or the District of Utah. This litigation consists of 28 actions pending in 17 districts, as listed on
Schedule A. Since the filing of the motion, the Panel has been notified of 56 related actions in 24
districts. 1

        Responding plaintiffs largely favor centralization, though their stance on whether to
include claims against defendants other than Meta 2 varies. Most support including in an MDL all
cases that name Meta defendants, but not cases that name only non-Meta defendants. 3 In addition
to the transferee districts suggested or supported by movant, these plaintiffs variously suggest or
support the Northern District of California or the District of Oregon. Plaintiff in one potentially-
related action naming only TikTok (Anderson) opposes inclusion of her action in centralized
proceedings.

       The Meta defendants support centralization of all actions in the Eastern or Western District
of Kentucky or, alternatively, in the Middle District of Florida or the Northern District of Georgia.

*
       Judges Nathaniel M. Gorton, David C. Norton, and Roger T. Benitez took no part in the
decision of this matter.
1
        These and any other related actions are potential tag-along actions. See Panel Rules 1.1(h),
7.1, and 7.2.
2
      Meta Platforms, Inc., Facebook Holdings, LLC, Facebook Operations, LLC, Facebook
Payments, Inc., Facebook Technologies, LLC, Instagram LLC, and Siculus, Inc.
3
        Snap, Inc. (Snap); TikTok, Inc. and ByteDance, Inc. (TikTok); and YouTube, LLC, Google
LLC, and Alphabet Inc. (YouTube). Twenty-two actions and potential tag-along actions name
one or more of these defendants, in addition to the Meta defendants. Four potential tag-along
actions name one or more of these defendants, without naming Meta.
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                                                 -2-

Snap, TikTok, and YouTube oppose inclusion of claims against them in centralized proceedings.
Snap and TikTok alternatively support Meta’s suggested transferee districts. At oral argument,
counsel for TikTok added that, if the Panel chooses to include any actions naming TikTok in an
MDL, then it should include all actions naming TikTok—even those not also naming Meta.

        On the basis of the papers filed and the hearing session held, we find that these actions
involve common questions of fact, and that centralization in the Northern District of California
will serve the convenience of the parties and witnesses and promote the just and efficient conduct
of this litigation. These actions present common factual questions arising from allegations that
defendants’ social media platforms are defective because they are designed to maximize user
screen time, which can encourage addictive behavior in adolescents. Plaintiffs allege defendants
were aware, but failed to warn the public, that their platforms were harmful to minors.

       All parties agree that the claims involving Meta share questions of fact, including whether
Meta’s platforms (Facebook and Instagram) encourage addictive behavior, fail to verify users’
ages, encourage adolescents to bypass parental controls, and inadequately safeguard against
harmful content and/or intentionally amplify harmful and exploitive content. Centralization will
eliminate duplicative discovery; prevent inconsistent pretrial rulings, including with respect to
motions to dismiss and Daubert motions; and conserve the resources of the parties, their counsel,
and the judiciary.

        In opposing centralization of the actions naming them, defendants TikTok, Snap, and
YouTube argue that: (1) defendants’ various social media platforms operate—and plaintiffs
interacted with them—in different ways and, therefore, individual factual issues will predominate;
(2) including direct competitor defendants in the MDL will complicate proceedings; and (3)
voluntary coordination of the small number of claims against them is feasible and preferrable to
participating in what they anticipate will be burdensome pretrial proceedings. We do not find
these arguments persuasive.

         That individualized factual issues may arise in each action does not—especially at this
early stage of litigation—negate the efficiencies to be gained by centralization. The transferee
judge can address unique issues using separate discovery tracks for each defendant or platform
and employ separate motion tracks, to the extent necessary. The Panel has centralized product
liability cases involving similar products made by different manufacturers where there will be
overarching issues of general causation. See, e.g., In re Fluoroquinolone Prods. Liab. Litig., 122
F. Supp. 3d 1378, 1379 (J.P.M.L. 2015). In addition to persuasively arguing that causation issues
will overlap, the Meta defendants point out that all defendants likely will assert the same defenses.
Centralization of all actions, therefore, will allow for efficient coordination of briefing and rulings
on motions to dismiss, as well as Daubert motions. 4


4
        For this reason in particular, we are inclined to believe that the MDL should include the
potentially related actions alleging that defendants’ social media platforms encourage addiction in

                                                                                          (continued)
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        Opposing defendants also argue that the measures required to protect competing
defendants’ trade secret and confidential information will complicate centralized proceedings. But
more than one-quarter of the pending actions involve multiple defendants already. Consequently,
protecting defendants’ trade secrets and confidential information will be at issue regardless of
whether these cases are included in the MDL. In fact, centralization will allow a single judge to
streamline protective orders and other protocols.

        Finally, we disagree that the parties can effectively informally coordinate the more than
twenty actions that name multiple defendants. Allowing those actions to proceed separately in
various courts would hinder the transferee court’s efforts to conduct a single, efficient, coordinated
proceeding, particularly given that each of the multi-defendant actions on the motion also name
the common Meta defendants. Furthermore, as the Panel frequently holds, transfer of a particular
action often is necessary to further the expeditious resolution of the litigation taken as a whole,
even if it might inconvenience some parties to that action. See, e.g., In re Crown Life Ins. Co.
Premium Litig., 178 F. Supp. 2d 1365, 1366 (J.P.M.L. 2001).

       Opposing defendants alternatively request the Panel separate and remand the claims against
them to their transferor courts. We decline to do so, as plaintiffs allege common indivisible injuries
from multiple products, and severance and remand would complicate the litigation by multiplying
each plaintiff’s claims across different courts.

         We find the Northern District of California to be an appropriate transferee district for this
litigation. Several defendants are headquartered in or near this district, and centralization will
facilitate coordination with the state court cases pending in California. We will assign this complex
litigation to Judge Yvonne Gonzalez Rogers—an experienced transferee judge who presides over
a pending action. We are confident she will steer this matter on a prudent course.




adolescents—even if they do not name the Meta defendants. Additionally, at oral argument, Meta
argued that many, if not most, of the adolescents named in the litigation engaged in simultaneous
and overlapping use of multiple platforms, and some plaintiffs may add defendants as they develop
the facts of their case. According to Meta, this occurred in the Northern District of California
Rodriguez action, which initially named just Meta and Snap, but was later amended to include
TikTok. The potential for each case to later involve additional platforms and defendants weighs
in favor of including the non-Meta cases in the MDL. The Panel has been notified of at least four
actions that have as defendants Snap, YouTube, and/or TikTok, but not Meta. Among these is the
Anderson case, in which plaintiff opposes inclusion in the MDL. Arguments concerning the
inclusion of these non-Meta cases will be considered in due course through the conditional transfer
order process, as these actions are not now before the Panel. See Panel Rules 1.1(h), 7.1 and 7.2.
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       IT IS THEREFORE ORDERED that the actions listed on Schedule A and pending outside
the Northern District of California are transferred to the Northern District of California and, with
the consent of that court, assigned to the Honorable Yvonne Gonzalez Rogers for coordinated or
consolidated pretrial proceedings.



                                          PANEL ON MULTIDISTRICT LITIGATION




                                                          Karen K. Caldwell
                                                              Chair

                                      Matthew F. Kennelly                Dale A. Kimball
                                      Madeline Cox Arleo
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IN RE: SOCIAL MEDIA ADOLESCENT
ADDICTION/PERSONAL INJURY
PRODUCTS LIABILITY LITIGATION                                   MDL No. 3047


                                    SCHEDULE A

          Southern District of Alabama

    ELY v. META PLATFORMS, INC., ET AL., C.A. No. 1:22−00268

          Northern District of California

    RODRIGUEZ v. META PLATFORMS, INC., ET AL., C.A. No. 3:22−00401
    HEFFNER v. META PLATFORMS, INC., ET AL., C.A. No. 3:22−03849
    ARANDA, ET AL. v. META PLATFORMS, INC., C.A. No. 3:22−04209
    MARTIN, ET AL. v. META PLATFORMS, INC., C.A. No. 3:22−04286
    SPENCE, ET AL. v. META PLATFORMS, INC., F/K/A FACEBOOK, INC.,
          C.A. No. 4:22−03294
    SEEKFORD v. META PLATFORMS, INC., ET AL., C.A. No. 4:22−03883
    ROBERTS, ET AL. v. META PLATFORMS, INC., ET AL., C.A. No. 4:22−04210
    N, ET AL. v. META PLATFORMS, INC., C.A. No. 4:22−04283

          District of Colorado

    HARRIS v. META PLATFORMS, INC., ET AL., C.A. No. 1:22−01420
    TESCH v. META PLATFORMS, INC., ET AL., C.A. No. 1:22−01795
    CAHOONE v. META PLATFORMS, INC., ET AL., C.A. No. 1:22−01848

          District of Delaware

    GUERRERO v. META PLATFORMS, INC., ET AL., C.A. No. 1:22−00750

          Southern District of Florida

    CHARLES v. META PLATFORMS, INC., ET AL., C.A. No. 1:22−21721

          Northern District of Georgia

    WADDELL v. META PLATFORMS, INC., ET AL., C.A. No. 2:22−00112

          Northern District of Illinois

    ROTH v. META PLATFORMS, INC., ET AL., C.A. No. 1:22−02968
    WILLIAMS v. META PLATFORMS, INC., ET AL., C.A. No. 1:22−03470
    ISAACS v. META PLATFORMS, INC., ET AL., C.A. No. 1:22−03883
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      Southern District of Illinois

MURDEN v. META PLATFORMS, INC., ET AL., C.A. No. 3:22−01511

      Eastern District of Kentucky

WHITE v. META PLATFORMS, INC., ET AL., C.A. No. 5:22−00189

      Western District of Kentucky

CRAIG v. META PLATFORMS, INC., ET AL., C.A. No. 1:22−00087

      Western District of Louisiana

GILL, ET AL. v. META PLATFORMS, INC., ET AL., C.A. No. 1:22−02173

      Western District of Missouri

ESTEVANOTT v. META PLATFORMS, INC., ET AL., C.A. No. 6:22−03149

      District of Oregon

DOFFING v. META PLATFORMS, INC., ET AL., C.A. No. 1:22−00100

      Middle District of Tennessee

TANTON v. META PLATFORMS, INC., ET AL., C.A. No. 3:22−00411

      Northern District of Texas

CARTER, ET AL. v. META PLATFORMS, INC., ET AL., C.A. No. 3:22−01343

      Southern District of Texas

CAMACHO v. META PLATFORMS, INC., ET AL., C.A. No. 4:22−01815

      Eastern District of Wisconsin

DAWLEY v. META PLATFORMS, INC., ET AL., C.A. No. 2:22−00444
